       CASE 0:17-cv-01577-PJS-LIB Document 71 Filed 03/15/18 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA


                                   )
Larry Holmberg, a Minnesota        )
Resident,                          )
                                   )         Civil Action No. 0:17-cv-01577
                       Plaintiff,  )
                                   )
v.                                 )
                                   )
Jeffrey B. Peel, an Iowa Resident, )
et al.,                            )
                                   )
                       Defendants, )
______________________________)


                    PLAINTIFF LARRY HOLMBERG’S
    NOTICE OF DISMISSAL WITHOUT PREJUDICE UNDER RULE 41(a)(1)(A)(i)

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), Plaintiff Larry Holmberg hereby dismisses all named Defendants from the above-

captioned action without prejudice. No Defendant has filed or served an Answer or Motion for

Summary Judgment.

       WHEREFORE, Plaintiff Larry Holmberg dismisses Defendants Jeffrey B. Peel, Tara

Peel, Benjamin B. Stern, Benjamin A. Thorud, and Tactacam, LLC without prejudice, each party

to bear its own costs and attorneys’ fees.


                                             LARRY HOLMBERG

                                             By his attorney,

                                             /Thomas R. Johnson
                                             Thomas R. Johnson (Reg. No. 242,032)
                                             MERCHANT & GOULD P.C.
                                             3200 IDS Center
CASE 0:17-cv-01577-PJS-LIB Document 71 Filed 03/15/18 Page 2 of 2




                             80 South Eighth Street
                             Minneapolis, Minnesota 55402-2215
                             Telephone: (612) 332-5300

                             March 15, 2018
                             Date




                               -2-
